               UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                   Case No. 20-CV-954-WO-JLW

FARHAD AZIMA,

       Plaintiff,
                                              PLAINTIFF’S REPLY IN
       v.                                    SUPPORT OF MOTION TO
                                              COMPEL DECHERT LLP
NICHOLAS DEL ROSSO and VITAL
MANAGEMENT SERVICES, INC.,

       Defendants.


      Dechert LLP (“Dechert”) is a co-conspirator and central figure in

Plaintiff’s claims for misappropriation of trade secrets and civil conspiracy and

has significant relevant, non-privileged evidence that must be produced. See

Answer ¶¶ 13, 15, ECF No. 86. For months, Dechert has refused to produce

any documents in response to a valid subpoena and has refused to produce a

witness for a Rule 30(b)(6) deposition. Dechert’s approach is similar to the

stonewalling Defendants have engaged in and appears to be part of a

coordinated effort to block all discovery.

      Dechert does not deny that it has relevant evidence or testimony.

Dechert instead summarily disclaims any obligation to respond to Plaintiff’s

subpoena by insisting that Plaintiffs should obtain responsive documents from

Defendants, not Dechert. Of course, while Dechert and Defendants may have




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some of the same documents, they also have different documents. Nonetheless,

Defendants have refused to produce any documents.

      Dechert also attempts to shield itself from its subpoena obligations by

lobbing boilerplate burden objections and unfounded and unsubstantiated

privilege claims without addressing the application of the crime fraud

exception to any such assertions. Though Dechert relies on a blanket privilege

assertion, its client has made clear that, in at least some instances, Dechert

was acting outside of the scope of its representation and not engaging in

privileged work.      Ex. 1, ¶ 77AA.6 (Excerpts of UK Amended Defence of

RAKIA). Yet Dechert ignores whether the specific information sought falls

within a privilege.

      Dechert’s flagrant refusal to comply with its third-party discovery

obligations also contradicts its stance in the UK litigation. It appears that

Dechert has already taken substantial steps to collect and review potentially

responsive documents in that litigation and plans to produce documents in the

next few months.       Any claims of undue burden therefore ring hollow,

particularly given that the burden is on the party resisting discovery to justify

subpoena non-compliance. See SAS Inst., Inc. v. Akin Gump Strauss Hauer &

Feld, LLP, No. 10–CV–101, 2011 WL 6370482, at *2 (E.D.N.C. Dec. 20, 2011).

      Furthermore, Dechert’s hypothetical and blanket privilege assertions

lack foundation and do not justify a wholesale refusal to review and produce



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responsive, non-privileged documents or, at minimum, a privilege log. Dechert

is already doing that in the UK litigation and should do so here. As one

example of Dechert’s intransigence, Dechert claims its billing records are

privileged, ignoring settled caselaw that billing records are generally not

privileged. Id. at *3. Dechert’s argument that Plaintiff’s document requests

would overburden a global law firm with an “exacting, page-by-page privilege

review of . . . billing records” lacks merit. See ECF No. 176 at 2. This is

precisely the type of review courts require in response to discovery requests.

See id. Dechert should not be permitted to hide behind vague privilege claims

anymore, especially without providing any evidence supporting the claim of

undue burden.

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      For the reasons stated below and in Plaintiff’s opening brief, these

objections do not justify Dechert’s complete refusal to comply with a valid

subpoena.      The Court should order Dechert to produce responsive, non-

privileged documents immediately and to provide a witness for 30(b)(6)

testimony.     To the extent that Dechert identifies potentially privileged

documents, it should identify those in (and then produce) a privilege log

accordingly.


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        Dechert incorporates its arguments in support of its Motion to Quash
Plaintiff’s subpoena seeking 30(b)(6) deposition testimony. Plaintiff likewise
incorporates its prior arguments by reference. See Pl.’s Resp. to Dechert’s Mot.
to Quash, ECF No. 148.

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                                ARGUMENT

        Dechert’s Opposition to Plaintiff’s Motion to Compel fails to justify

Dechert’s refusal to produce a single document or witness in response to

Plaintiff’s subpoena for documents and a Rule 30(b)(6) deposition. Dechert is

not some tangential third party – it is a co-conspirator and key witness in this

case.

        There is no question that Dechert has relevant, non-privileged

documents and testimony. Indeed, Dechert has admitted in the UK that it has

Plaintiff’s stolen data. See ECF No. 148 n.1.2 Documents and communications

(including billing records, calendar invites, and visitor logs) about that data,

how Dechert came to possess that data, and what it did with that data are

clearly responsive. Dechert has collected and is in the process of reviewing

documents in the UK case. The Court should order Dechert to comply with the

subpoenas here for the following reasons.

        First, Dechert makes a disingenuous burden argument in an attempt to

avoid its subpoena obligations. The onus to overcome production obligations is

on the party resisting discovery (even a third party), not on the party seeking

to compel. See SAS Inst., Inc., 2011 WL 6370482, at *2; see also Carefirst of




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        Dechert could not argue otherwise. Defendant Del Rosso has already
admitted that he provided Plaintiff’s stolen data to Dechert. See ECF No. 132-
2, ¶ 14; see also ECF No. 132-3 at 3.

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Md., Inc. v. Carefirst Pregnancy Ctrs., Inc., 334 F.3d 390, 402 (4th Cir. 2003)

(stating that discovery under the Federal Rules “is broad in scope and freely

permitted”). In the UK litigation, Dechert has already begun collecting and

reviewing, and will soon be producing, some of the very categories of documents

Plaintiff seeks here. Given that it is already collecting and reviewing the

documents, there is no undue burden on Dechert to produce them to Plaintiff

in this case based on their review. See Prosser v. State Farm Fire & Cas. Co.,

No. 20-CV-00240, 2021 WL 5284138, at *2 (E.D.N.C. Apr. 19, 2021) (“[A] claim

of undue burden must be supported by an affidavit or evidence describing the

process of obtaining the responsive documents or information and the time and

expense involved.”); Ashmore v. Allied Energy, Inc., No. 8:14-CV-00227-JMC,

2016 WL 301169, at *3 (D.S.C. Jan. 25, 2016) (holding that party “cannot

demonstrate that the document production to Plaintiff is unduly burdensome,

unreasonable, or oppressive” because the producing party refused to present

“cost/financial information”).

      Second, Dechert’s sweeping and conclusory privilege claims lack merit

and do not justify its refusing to produce responsive, non-privileged documents.

The Federal Rules of Civil Procedure require that Dechert make privilege

objections with specificity. Fed. R. Civ. P. 45(e)(2)(A) (requiring subpoena

recipients to “expressly make” their privilege claims); See Gonzalez-Rodriguez

v. Gracia, No. 5:21-CV-406-BO, 2023 WL 149978, at *2 (E.D.N.C. Jan. 10,



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2023) (finding that third party’s failure to provide a privilege log or “functional

equivalent” prevented the plaintiffs and the Court from assessing privilege

claims); see also Herbalife Int'l, Inc. v. St. Paul Fire & Marine Ins. Co.,

No. CIV.A. 5:05CV41, 2006 WL 2715164, at *4 (N.D.W. Va. Sept. 22, 2006)

(“Failure to timely produce a privilege log or the production of an inadequate

privilege log may constitute a waiver of any asserted privileges.”). Dechert has

failed to offer any specificity in its objections, instead vaguely arguing that the

subpoenas seek privileged information and refusing to engage in any

meaningful dialogue about the precise confines of the purported privilege and

what categories of documents purportedly fall within the privilege.

      Regardless, any privilege claim should be approached with skepticism.

Dechert asserts that its privilege claims arise from its former representation

of Ras Al Khaimah (“RAK”), ECF No. 176 at 2, but RAK has already disavowed

at least some of Dechert’s conduct as being “outside the scope of the Dechert

Retainer and instructions.” Ex. 1, ¶ 77AA.6. RAK has stated that they were

not made aware of Dechert’s conduct with regard to certain clandestine

meetings, and thus “[n]o legal privilege attaches.” Id. RAK has also publicly

accused Dechert of betraying RAK, suggesting that at least some of Dechert’s

conduct was not authorized by RAK and was in fact taken “to advance their

own interests for their own gains” – and therefore would not be privileged.




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ECF No. 144-1 (Letter from RAKIA to U.K. Court (June 22, 2022)).

Accordingly, any privilege claims concerning RAK must be scrutinized to

assess (1) whether relevant communications were for the purpose of obtaining

or conveying bona fide legal advice; and (2) whether the crime fraud exception

to attorney-client privilege applies. See Amusement Indus., Inc. v. Stern, 293

F.R.D. 420, 426 (S.D.N.Y. 2013) (exception requires “a showing . . . to believe

that a fraud or crime has been committed” and “that the [privileged]

communications . . . were in furtherance of the fraud or crime”). None of this

analysis can be done until Dechert attempts to carry its burden and asserts

any relevant privilege claims with the required specificity.

      Third, Dechert misreads SAS Institute, Inc., to argue that it may refuse

to produce non-privileged billing records relevant to Plaintiff’s claims. 4 SAS

Institute is clear that billing records are presumptively non-privileged. See


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        RAK has stated that it “may have been the victim of dishonest and
unscrupulous former third-party advisers [i.e., Dechert and its partner Neil
Gerrard] who have taken steps to advance their own interests for their own
gains, and at RAKIA’s expense.” ECF No. 144-1 (Letter from RAKIA to U.K.
Court (June 22, 2022)).

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        Dechert argues Plaintiff “principally” disputes the applicability its
privilege claims only as to billing records. ECF No. 176. Billing records are a
prime example of non-privileged information within Dechert’s possession,
custody, and control, but Plaintiff expects that Dechert possesses other
categories of non-privileged information as well. Some of the other categories
of non-privileged information that Plaintiff requested and expects that Dechert
possesses include calendar entries, engagement letters, and visitor logs.

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2011 WL 6370482, at *3 (“Typically, the attorney-client privilege does not

extend to billing records and expense reports.”) (citations omitted). If such

billing records could contain privileged material, the burden in withholding

such information from production remains on Dechert. See id. at *2; see also

Carefirst of Md., Inc., 334 F.3d at 402. Dechert cannot meet this burden merely

by reciting that producing relevant documents would require them to review

documents for privilege. That would be true in any case with any party, and

Dechert is or should be already engaging in that exercise as part of its discovery

obligations in the UK case. Dechert admits that it can redact billing entries to

the extent they reflect litigation strategy or research.5 Moreover, the Court

recently entered a Protective Order, ECF No. 177, which, per SAS Institute,

may address Dechert’s concerns about confidentiality. See 2011 WL 6370482,

at *6.

         In all events, where Dechert asserts the attorney-client privilege or

attorney work product doctrine, it must produce a privilege log identifying the

documents and communications Dechert is withholding and sufficient

information about those documents and communication to allow the Court and


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         The information that can be withheld from billing records is also
limited. For example, if the records reveal “no more than the identity of the
client, the amount of the fee, the identification of payment by case file name,
and the general purpose of the work performed, such information is not
protected from disclosure.” SAS Inst., Inc., 2011 WL 6370482, at *6 (citation
and internal quotation marks omitted).

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Plaintiff to assess Dechert’s claims. See, e.g., SAS Inst., Inc., 2011 WL 6370482,

at *6 (“While such requests are overly broad and improperly seek substantive

information plainly protected by attorney-client privilege and the attorney

work product doctrine, to the extent such documents exist, Defendants are

ordered to list them on a privilege log in accordance with Rule 26(b)(5)(A) of

the Federal Rules of Civil Procedure.”). This, too, is critical to adjudicating

privilege claims and is therefore an essential element of Dechert’s subpoena

compliance.

      Fourth, Dechert’s attempt to justify its failure to comply with a valid

subpoena by claiming Plaintiff can obtain documents from Defendants is

nonsensical.   As Dechert appears to acknowledge, ECF No. 176 at 2-3,

Defendants have only produced the records that were stolen from Plaintiff, and

the documents Dechert possesses are likely to be very different from those of

Defendants. Dechert possesses unique documents and information, which

Plaintiff cannot obtain from Defendants or any other party. As noted above,

the collection, review, and production of records by Dechert is well under way

in the UK case, so any burden will be minimal.           Finally, the concerted

obstruction of discovery by Defendants, Dechert, and other affiliated third

parties makes it all the more critical that Plaintiff be permitted to obtain

evidence via third-party subpoena.




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      When presented with reasonable discovery requests, it is unacceptable

for any subpoenaed party (including a global law firm) to produce nothing. See,

e.g., E.E.O.C. v. New Hanover Reg’l Med. Ctr., No. 09-CV-00085, 2010 WL

4668957, at *2 (E.D.N.C. Nov. 9, 2010) (allowing discovery into related

requests sent to both party and third party, in part, because the requests did

not seek identical documents). Instead of turning the page on the disgraceful

conduct spearheaded by its former partner, Neil Gerrard, Dechert compounds

those wrongs by flouting the Federal Rules of Civil Procedure and this Court’s

Orders in order to shield this misconduct from discovery. This obstruction

should not stand.

                               CONCLUSION

      For the foregoing reasons, the Court should grant Plaintiff’s Motion to

Compel and order Dechert to produce responsive, non-privileged documents

immediately. To the extent that Dechert asserts privilege claims, the Court

should require Dechert to identify the documents and grounds for privilege

with specificity, to produce a privilege log, and to explain why the crime fraud

exception does not apply. The Court should also order Dechert to designate a

witness for 30(b)(6) testimony as required by the Rules.




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 This, the 28th day of February, 2023.

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                    CERTIFICATE OF WORD COUNT
      The undersigned certifies compliance with Local Rule 7.3(d) regarding

length limitations. This memorandum contains fewer than 3,125 words. The

undersigned has relied on the word count feature of Microsoft Word 365 in

making this certification.



                                         /s/ Ripley Rand
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              IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                    CASE NO. 20-CV-954-WO-JLW


FARHAD AZIMA,

      Plaintiff,

      v.
                                            CERTIFICATE OF SERVICE
NICHOLAS DEL ROSSO and
VITAL MANAGEMENT
SERVICES, INC.,

      Defendants.



      I hereby certify that I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system, which will send electronic notification of this
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